                Case: 1:16-cr-00181 Document #: 128 Filed: 10/31/18 Page 1 of 1 PageID #:1101
            AO 455 (Rev. 5/85) Waiver of Indictment   -
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           {lt TTED STATES OF AMERICA                                     WAIVER OF INDICTMENT
                                 v.
                                                                          CASE NUMBER: 16 CR 181
            AWS MO HAMMED YOUNIS AL-JAYAB                                 Hon. Sara. L. Ellis


                      I, Aws Mohammed Younis              A1-Jayab,   the above named defendant, who     is

            accused of knowingly providing material support and resources, namely personnel,

            to a foreign terrorist organization, being advised of the nature of the charges, the

            proposed information, and of my rights, hereby waive             in open court on October   31,

            2018, prosecution by indictment and consent that the proceeding may be by

            information rather than by indictment.




                                                                  Thomas A. Durki
                                                                  Counsel for Defendant



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